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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS




STATE OF NEW YORK, et al.,

             Plaintiffs,
v.                                           Civil Action No. 1:25-cv-11221-WGY
DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

             Defendants.




DEFENDANTS’ CONSOLIDATED RESPONSE MEMORANDUM IN OPPOSITION TO
PLAINTIFFS’ AND INTERVENOR’S MOTIONS FOR A PRELIMINARY INJUNCTION
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3.   Declaration of Matthew Giacona, Principal Deputy Director,            DOI Decl.
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4    Declaration of Travis Voyles, Assistant Deputy Administrator, U.S.    EPA Decl.
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5.   Declaration of Elizabeth Maclin, Acting Deputy Assistant Director,    FWS-ES Decl.
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6. Declaration of Jerome Ford, Assistant Director, Office of Migratory     FWS-MB Decl.
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7. Declaration of Samuel D. Rauch, III, Deputy Assistant                   NMFS Decl.
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                                        INTRODUCTION

       Plaintiffs’ claims assert nothing more than a policy disagreement over preferences for wind

versus fossil fuel energy development that is outside the bounds of federal court jurisdiction. All

agree that with increasing demands brought on by artificial intelligence and geopolitical

uncertainty in the international energy arena, growth in domestic energy production will be at the

forefront of ensuring continuing American prosperity and security. But President Trump has stated

safety and environmental concerns with the growing wind energy sector. To ensure federally

permitted wind energy production may continue in a reliable, affordable, and environmentally

responsible manner, President Trump directed federal agencies to temporarily refrain from issuing

wind energy permitting authorizations while the Department of the Interior leads a review of

federal wind energy permitting and development practices.

       Plaintiffs, 17 States and the District of Columbia, and Intervenor Alliance for Clean Energy

New York (“Intervenor”), ask this Court to reach inside those agencies and enjoin their compliance

with the temporary cessation directive—in effect, compelling the agencies to act in contravention

of an executive directive. That misguided quest for extraordinary relief should be rejected.

Plaintiffs and Intervenor fail to show standing, fail to identify any final agency action on which to

base their claims, fail to identify statutory violations on the part of Defendants, disregard the

considerable agency discretion and flexibility in the relevant statutory regimes, and otherwise fail

to state a claim. In short, Plaintiffs ask the Court to elevate their energy preferences over the

President’s. As a consequence, Plaintiffs and Intervenor are unlikely to succeed on the merits of

their claims—to say nothing of their failure to demonstrate the other necessary elements for

preliminary injunctive relief. Their Motions for a Preliminary Injunction must be denied and their

claims may be dismissed.



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                                  FACTUAL BACKGROUND

       Since George Washington, United States Presidents have used executive directives to guide

administration of the Executive Branch. See Harold C. Relyea, Cong. Research Serv., 98-611

GOV, Presidential Directives: Background and Overview 1 (2008); see also 44 U.S.C. § 1505(a).

Recent Executive Orders and executive memoranda have given agencies instructions regarding

various environmental concerns. For example, in Executive Order 14008, Tackling the Climate

Crisis at Home and Abroad, 86 Fed. Reg. 7619 (Feb. 1, 2021), President Biden directed the

Secretary of the Interior to review siting and permitting processes for renewable energy on public

lands and in offshore waters, and directed the Secretary to pause new oil and natural gas leases

while agencies conducted a comprehensive review of permitting and leasing practices. Id. at 7624-

25, §§ 207-08. In Executive Order 14096, Revitalizing Our Nation’s Commitment to

Environmental Justice for All, 88 Fed. Reg. 25251 (Apr. 26, 2023), President Biden instructed each

agency to carry out certain environmental reviews in a manner that considered extra-statutory

environmental justice concerns. Id. at 25254, § 3(ix)(A). Similarly, on September 21, 2016,

President Obama issued a Presidential Memorandum entitled, Climate Change and National

Security, which, among other things, directed the creation of an interagency working group to

develop a strategic approach to certain climate-related impacts. 1

I.     President Trump Issues the Wind Energy Memorandum

       On January 20, 2025, President Trump issued a memorandum entitled, Temporary

Withdrawal of All Areas on the Outer Continental Shelf From Offshore Wind Leasing and Review




1
  Available at https://obamawhitehouse.archives.gov/the-press-office/2016/09/21/presidential-
memorandum-climate-change-and-national-security.
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of the Federal Government’s Leasing and Permitting Practices for Wind Projects. 90 Fed. Reg.

8363 (Jan. 29, 2025) (“Wind Memo”).

       Section 1 of the Wind Memo withdraws from disposition for wind energy leasing all areas

within the Outer Continental Shelf as the President is authorized to do under the Outer Continental

Shelf Lands Act (“OCSLA”). Id.; see 43 U.S.C. § 1341(a) (“The President of the United States

may, from time to time, withdraw from disposition any of the unleased lands of the outer

Continental Shelf.”). Plaintiffs muster no challenge to Section 1.

       Section 2(a) of the Wind Memo provides two directives: (1) a temporary cessation—or

hold—of certain wind energy authorizations (“temporary cessation directive”); and (2) a

comprehensive assessment and review of federal wind leasing and permitting practices

(“assessment and review directive”). 90 Fed. Reg. at 8363-64. Crucially, the Wind Memo instructs

that these directives “shall be implemented consistent with applicable law.” Id. at 8364. In other

words, agencies must implement the Wind Memo consistent with their statutory authority and

obligations. The President announced these directives based on concerns over potential legal

deficiencies in past practices, the possibility of serious harm to various interests and marine

mammals, and potential inadequacies of various environmental reviews.

       The temporary cessation directive provides that the heads of relevant agencies “shall not

issue new or renewed approvals, rights of way, permits, leases, or loans for onshore or offshore

wind projects pending the completion of a comprehensive assessment and review of Federal wind

leasing and permitting practices.” Id. at 8364. It did not “indefinitely halt” all wind energy

development. Nor is it a “Wind Ban,” as Intervenor claims. The directive certainly did not ban

wind, it did not ban wind projects, and it did not ban wind project permits. Authorized projects

continue to generate power and, in fact, Agency Defendants generally continue to review, analyze,



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and process wind energy submissions and materials as directed by the Wind Memo and consistent

with applicable law. BOEM Decl. ¶ 7; Corps Decl. ¶ 6; EPA Decl. ¶¶ 5, 15, 23; FWS-ES Decl. ¶¶

7-8, 11; FWS-MB Decl. ¶ 11; NMFS Decl. ¶¶ 4-5.

       The assessment and review directive tasks the Secretary of the Interior, in consultation with

the heads of other agencies, to develop an assessment and review of the environmental impact of

onshore and offshore wind projects. That effort is already underway. DOI Decl. ¶ 5; NMFS Decl.

¶ 8. The Wind Memo then identifies several concerns regarding wind energy development and

generation for agency heads to consider, including the impacts on wildlife, “economic costs

associated with intermittent generation of electricity[,] and the effect of subsidies on the viability

of the wind industry.” 90 Fed. Reg. at 8364. Similar concerns have been raised by all sides of the

political divide across multiple administrations. See e.g. Am. Compl., Green Oceans v. U.S. Dep’t

of the Interior, No. 1:24-CV-00141 (D.D.C. May 13, 2024), ECF No. 33; Oregon-California Trails

Ass’n v. Walsh, 467 F. Supp. 3d 1007, 1044 (D. Colo. 2020); Protect Our Cmtys. Found. v. Jewell,

825 F.3d 571, 576 (9th Cir. 2016). Concerns have likewise been raised about federal permitting

and oversight. For example, a recent GAO report on wind permitting practices concluded that the

relevant agencies “have not taken all necessary steps to ensure that they have the resources in place

to conduct effective oversight and engagement with stakeholders.” GAO, Offshore Wind Energy

44 (April 2025), https://www.gao.gov/assets/gao-25-106998.pdf.

II.    Plaintiffs and Intervenor Delay in Bringing the Present Action

       Over three-and-a-half months after President Trump issued the Wind Memo, Plaintiffs—

joined by Intervenor2—filed the present suit challenging and now seeking to enjoin the President’s




2
 For the sake of brevity, Defendants will refer to Plaintiffs and Intervenor simply as “Plaintiffs,”
unless drawing a distinction between the two is necessary.
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temporary cessation directive in Section 2(a) and its implementation by the United States, twelve

named federal agencies or subcomponents, and the individuals overseeing those agencies.

                                 STATUTORY BACKGROUND

I.     Federal Statutes Governing Offshore and Onshore Wind Energy Development

       A.      The Outer Continental Shelf Lands Act

       OCSLA governs the development of energy on the Outer Continental Shelf (“OCS”), see

43 U.S.C. §§ 1331-1356c, including wind energy, see id. § 1337(p)(1)(C). The Secretary of the

Interior, in consultation with other relevant federal agencies, may grant a lease, easement, or right-

of-way on the outer continental shelf for the purpose of renewable energy production. Id.

§ 1337(p)(1)(C). To carry out that authority, the Department of the Interior (“DOI”) has issued

regulations governing a multi-phase development process for offshore renewable energy projects

that is managed by the Bureau of Ocean Energy Management (“BOEM”). See 74 Fed. Reg. 19638

(Apr. 29, 2009); 30 C.F.R. Pt. 585; see also 43 U.S.C. § 1337(p)(8); BOEM Decl. ¶ 2, Ex. A. But

neither DOI’s regulations nor OCSLA attach any independent mandatory deadlines for completion

of BOEM’s relevant reviews or decisions. BOEM Decl. ¶ 2.

       B.      The Clean Water Act (“CWA”) and the Rivers and Harbors Act (“RHA”)

       The U.S. Army Corps of Engineers (“Corps”) administers permits under Section 404 of the

CWA and Section 10 of the RHA. A Section 404 permit authorizes discharges of dredged and fill

material into “waters of the United States.” 33 U.S.C. §§ 1344, 1362(7). Section 10 of the RHA

prohibits “creation of any obstruction not affirmatively authorized by Congress, to the navigable

capacity of any of the waters of the United States.” Id. § 403. A Section 10 permit is required to

build structures or perform work in or affecting such waters. 33 C.F.R. § 322.3(a). The Corps “will

decide” on a permit application within 60 days of its being deemed complete unless certain



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conditions exist, such as if compliance with other environmental laws prevents a determination.

Id. § 325.2(d)(3). The Corps follows its regulations and other environmental laws when processing

Section 404 and Section 10 permits. See Corps Decl. ¶¶ 2-3.

       The CWA, Section 402 also established the National Pollutant Discharge Elimination

System (“NPDES”) permit program. 33 U.S.C. § 1342(a)(1); 40 C.F.R. § 122.1. Pollutant

discharges into waters of the United States are prohibited unless in compliance with CWA

requirements, such as in compliance with an NPDES permit. 33 U.S.C. § 1311(a). NPDES permits

“may” be issued by the Environmental Protection Agency (“EPA”) unless a state agency is

authorized to administer the NPDES program. Id. § 1342(a)(1), (b).

       Upon receipt of a complete application, EPA decides whether to prepare a draft permit and

accompanying “fact sheet,” 40 C.F.R. §§ 124.3(a); 124.6(a), (d), (e); 124.8(a), which is then

subject to a 30-day public comment period, id. § 124.10(b)(1). After its review of comments, EPA

issues a permit decision. Id. § 124.15. Neither the CWA nor EPA’s CWA regulations specify a

specific, enforceable timeline by which final NPDES permits must be issued. If issued, they

become effective 30 days later, unless a later date is set or review by the Environmental Appeals

Board (“EAB”) is requested. Id. § 124.15(b). A permit decision is not final until after EAB review.

Id. § 124.19(l). See, e.g. EPA Decl. ¶¶ 12, 22-23, Exs. 3-4. After EAB review, permit decisions are

subject to judicial review in federal circuit courts pursuant to 33 U.S.C. § 1369(b)(1).

       C.      The Clean Air Act (“CAA”)

       The CAA authorizes EPA to regulate air pollution from OCS activities. See 42 U.S.C.

§ 7627. EPA’s regulations require permitting for OCS sources of air pollution and incorporate by

reference permitting requirements for Prevention of Significant Deterioration (“PSD”),

Nonattainment New Source Review, and Title V of the CAA. See 40 C.F.R. § 55.6. The CAA sets



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deadlines for some permit decisions. See 42 U.S.C. § 7475(c) (PSD preconstruction); id. §7661b(c)

(Title V operating permits). CAA permits are generally subject to the same or similar procedures

and exhaustion requirements as NPDES permits, see, e.g., 40 C.F.R. Part 124 (PSD permits), and

are subject to federal circuit court review, 42 U.S.C. § 7607(b)(1). See EPA Decl. ¶¶ 18-19.

       D.      The Fixing America’s Surface Transportation Act (“FAST Act”)

       The FAST Act, Pub. L. No. 114-94, 129 Stat. 1312 (2015), is an omnibus transportation

bill that, among other things, streamlines federal permitting for certain complex infrastructure

projects. See 42 U.S.C. § 4370m(6). As a part of that effort, the Executive Director of the Federal

Permitting Improvement Steering Council and federal agencies work together to set overall

coordinated project plans and permitting timetables for covered projects. See id. § 4370m-2(c)(1)-

(2). Information is then published to a “Permitting Dashboard” to track the status of any covered

project. See id. § 4370m-2(b).

       The FAST Act has several safeguards to allow for agency flexibility and discretion. For

example, if an agency needs more time to complete an authorization, it may seek to modify the

permitting timetable. See id. § 4370m-2(c)(2)(D). In the event disputes regarding a project’s

permitting timetable arise, the FAST Act provides for a dispute resolution process, the outcome of

which is not subject to judicial review. See id. § 4370m-2(c)(2)(C). And while the FAST Act

prescribes certain deadlines for the posting of information to the Permitting Dashboard and the

dispute resolution process, it does not establish any mandatory timelines for completion of

authorizations or reviews. If an agency fails to meet a completion date, the agency needs only to

provide an explanation for the departure, an alternative completion date, and a monthly status

report until the final agency action has occurred. See id. § 4370m-2(c)(2)(F)(ii).




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II.    Wildlife and Marine Resource Conservation Statutes

       Plaintiffs’ Complaint includes the Endangered Species Act (“ESA”), Bald and Golden

Eagle Protection Act (“BGEPA”), Marine Mammal Protection Act (“MMPA”), and Magnuson-

Stevens Fishery Conservation and Management Act (“MSA”) among its list of laws purportedly

“governing federal approvals of wind-energy development.” Pls. Mem. 31. These laws do not

authorize construction or operation of wind energy projects. Rather, they protect and conserve

wildlife and marine resources. The agencies that administer these laws—the U.S. Fish and Wildlife

Service (“FWS”) and the National Marine Fisheries Service (“NMFS”)—engage in consultations

to ensure statutory standards are met and may grant certain exemptions from applicable take

prohibitions. These consultations and exemptions do not authorize construction or operation of

wind energy projects.

       Notably, while Plaintiffs hand wave at alleged duties to process various requests for

consultations and exemptions under these conservation statutes and their implementing

regulations, Plaintiffs do not identify any mandatory deadline to act that has been missed or that is

likely to be missed as a result of compliance with the Wind Memo’s temporary cessation directive. 3

In other words, Plaintiffs do not identify any overdue or delayed consultation under the ESA or the

MSA, incidental take permit decision under the BGEPA, or incidental take regulation decision

under the MMPA. In fact, FWS and NMFS have explained in their declarations that they continue

to process applicable requests notwithstanding the temporary pause on the issuance of approvals

under the Wind Memo. FWS-ES Decl. ¶ 7-8, 11; FWS-MB Decl. ¶ 11; NMFS Decl. ¶ 5.




3
 Plaintiffs also ignore the robust discretion agencies have in processing exemptions. See, e.g., 50
C.F.R. § 13.11(c); 50 C.F.R. part 216, subpart I.
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III.    Other Environmental Statutes

        Plaintiffs allege the Wind Memo violates the Bureau of Land Management’s (“BLM”)

right-of-way authority under the Federal Land Policy and Management Act (“FLPMA”), Compl.

¶ 408, and agency authority generally under the National Historic Preservation Act (“NHPA”). But

Plaintiffs do not identify any specific BLM right-of-way or NHPA consultation allegedly affected

by the temporary cessation directive. And even if they had, both statutes provide BLM and the

consulting agency significant flexibility and discretion without imposing mandatory deadlines.

See, e.g., 43 U.S.C. § 1761(a)(4); 43 C.F.R. § 2804.25(d)(Table 1), (e)(2); 36 C.F.R. § 800.1(c).

        Plaintiffs also allege the Wind Memo violates the National Environmental Policy Act

(“NEPA”), 42 U.S.C. §§ 4321, et seq. NEPA serves dual purposes by informing agency

decisionmakers of the potential environmental effects of proposed major federal actions and

ensuring that relevant information is available to the public to enable their participation. See

Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 349 (1989).

        To achieve those ends, NEPA requires agencies to prepare an environmental impact

statement (“EIS”) for any “major Federal actions significantly affecting the quality of the human

environment.” 42 U.S.C. § 4332(2)(C). NEPA also directs agencies to prepare an environmental

assessment (“EA”) for “proposed agency action that does not have a reasonably foreseeable

significant effect on the quality of the human environment, or if the significance of such effect is

unknown,” unless an exclusion applies. Id. § 4336(b)(2). Generally, NEPA instructs agencies to

complete an EIS within two years and an EA within one year from the date each is determined

necessary, see id. § 4336a(g)(1), but these timeframes may be extended, id. § 4336a(g)(2).

Agencies may also promulgate their own NEPA procedures. E.g., 40 C.F.R. Part 6 (EPA); 43 C.F.R.

Part 46 (DOI).



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                                    STANDARD OF REVIEW

I.      The Preliminary Injunction Standard

        “A preliminary injunction is an extraordinary remedy never awarded as of right.” Winter v.

Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008); Voice of the Arab World. v. MDTV Med. News

Now, 645 F.3d 26, 32 (1st Cir. 2011). Rather, it “may only be awarded upon a clear showing that

the plaintiff is entitled to such relief.” Winter, 555 U.S. at 22 (citation omitted).

        A plaintiff seeking a preliminary injunction must establish four elements: (1) a likelihood

of success on the merits; (2) a likelihood of irreparable harm absent injunctive relief; (3) a balance

of hardships that tips in their favor; and (4) that the public interest weighs in favor of granting the

injunction. See id.; Respect Maine PAC v. McKee, 622 F.3d 13, 15 (1st Cir. 2010). Of these

elements, the “most important is whether the movant has demonstrated a likelihood of success on

the merits.” Akebia Therapeutics, Inc. v. Azar, 976 F.3d 86, 92 (1st Cir. 2020).

II.     The Administrative Procedure Act (“APA”)

        The APA sets forth rights of action through which certain federal agency actions or

inactions are subject to review by the courts. See Dep’t of Homeland Sec. v. Regents of Univ. of

Cal., 591 U.S. 1, 16 (2020). But those rights of action come with limitations. For example, not

every government official is considered an “agency” under the statute. See 5 U.S.C. § 701(b). Also,

only those “suffering legal wrong because of agency action, or adversely affected or aggrieved by

agency action” may seek judicial review of the pertinent agency action. Id. § 702. That agency

action must, in turn, be either “made reviewable by statute [or] final agency action for which there

is no other adequate remedy.” Id. § 704; see also Bennett v. Spear, 520 U.S. 154, 178 (1997)

(setting forth the “final agency action” standard). Where APA review is available, that review is

both narrow and deferential, and “reviewing courts must . . . not substitute their own judgment for



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that of the agency.” Food & Drug Admin. v. Wages & White Lion Invs. LLC, 604 U.S. __, 145 S.

Ct. 898, 917 (2025).

       Under 5 U.S.C. § 706(2)(A), a court may set aside final agency action that is “arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with law.” Id. Similarly, under

§ 706(2)(C), a court may set aside final agency action that is “in excess of statutory jurisdiction,

authority, or limitations, or short of statutory right.” Id. Functionally, these provisions present “a

linguistic distinction without a practical difference.” Victim Rights Law Ctr. v. Cardona, 552

F.Supp.3d 104, 127 (D. Mass. 2021). Section 706(2)(D) authorizes a court to set aside final agency

action that is conducted “without observance of procedure required by law.” 5 U.S.C. § 706(2)(D).

                                           ARGUMENT

I.     Plaintiffs Are Unlikely to Succeed on the Merits of Their Claims

       The most important element of the preliminary injunction calculus is whether the movant

can show a likelihood of success on the merits. Akebia Therapeutics, Inc., 976 F.3d at 92. That

element is dispositive here. In short, Plaintiffs and Intervenor lack standing, cannot subject the

Wind Memo to APA review, fail to identify a final agency action subject to review, and otherwise

fail to state a claim for relief on the merits. For this reason, their motions must be denied and their

claims may be dismissed. See, e.g., Hunter v. Judson, No. CV 15-30189-MGM, 2015 WL 7737332,

at *2 (D. Mass. Dec. 1, 2015).4




4
  Defendants will likely file a motion to dismiss on these grounds when their responsive pleading
is due. Plaintiffs, however, preemptively rebutted Defendants’ argument that they do not have
standing, Pls.’ Mem. 19, thus, Plaintiffs have had “an opportunity to . . . respond” to Defendants
arguments and therefore sua sponte dismissal would be appropriate. See Futura Dev. of P.R., Inc.
v. Estado Libre Asociado de P.R., 144 F.3d 7, 14 (1st Cir. 1998).
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          A.      Article III Standing

          To demonstrate standing, a plaintiff “must have (1) suffered an injury in fact, (2) that is

fairly traceable to the challenged conduct of the defendant, and (3) that is likely to be redressed by

a favorable judicial decision.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016), as revised (May

24, 2016). Plaintiff has the burden of establishing all three elements, for every claim. Id. When the

case is at the pleading stage, the plaintiff must “clearly . . . allege facts demonstrating” each

element. Id. (quoting Warth v. Seldin, 422 U.S. 490, 518 (1975)). Where, as here, a plaintiff’s

“asserted injury arises from the government’s allegedly unlawful regulation (or lack of regulation)

of someone else,” standing is not precluded, but it is ordinarily “substantially more difficult” to

establish. Lujan v. Defs. of Wildlife, 504 U.S. 555, 562 (1992). Plaintiffs and Intervenor 5—none of

whom are directly affected by the agencies’ temporary hold on making final decisions on other

parties’ permit applications—have failed to meet their difficult burden of establishing any of the

three required elements of standing.

          B.      State Plaintiffs and the District of Columbia Lack Standing

                  1.      State Plaintiffs Fail to Allege Facts Plausibly Demonstrating Injury

          To establish injury in fact, a plaintiff must show “an invasion of a legally protected interest”

that is “concrete and particularized” and “actual or imminent, not conjectural or

hypothetical.” Spokeo, 578 U.S. at 339 (quoting Lujan, 504 U.S. at 560). If a plaintiff’s alleged

injuries are forward-looking, the plaintiff must show “a material risk of future harm” that is

“sufficiently imminent and substantial.” TransUnion LLC v. Ramirez, 594 U.S. 413, 435 (2021).

The injury must be “certainly impending,” and allegations of “possible future injury” fail to

establish standing. Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013) (cleaned up). Here,



5
    Intervenor also fails to identify specific members who are directly affected. See infra pp. 20-23.
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State Plaintiffs fail to allege a “certainly impending” injury, relying instead on “possible future

injury.”

       State Plaintiffs fail to allege an injury in fact that is “concrete and particularized.” Spokeo,

578 U.S. at 339. State Plaintiffs allege future injuries due to the purported future effects of the

temporary cessation directive. They allege that “the Wind Directive and Agency Defendants’

implementation of it risk depriving States of energy reliability and affordability benefits, economic

activity, health benefits, and environmental protection that were to come from their substantial

investments in wind power.” Compl. ¶ 168. But alleged risk to these extremely broad and

unspecific benefits from wind power does not demonstrate that the States have “sustained . . . some

direct injury . . . and not merely that [they] suffer[] in some indefinite way in common with people

generally.” DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 345, (2006) (quotation omitted).6

       State Plaintiffs allege injuries that are not “actual or imminent, [but instead] conjectural or

hypothetical.” Spokeo, 578 U.S. at 339. In so doing, Plaintiffs make two unsupported logical leaps.

       First, State Plaintiffs fail to demonstrate that any particular wind project would be

authorized and completed but for the Wind Memo, making their harms conjectural. Indeed, their

Complaint is silent on this point. Most State Plaintiffs fail to identify any wind project likely to be

affected by the Wind Memo. See Compl. ¶¶ 236-40 (Colorado); ¶¶ 241-55 (Connecticut); ¶¶ 259-

60 (D.C.); ¶¶ 261-69 (Illinois); ¶¶ 295-98 (Michigan); ¶¶ 299-307 (Minnesota); ¶¶ 323-27 (New

Mexico); ¶¶ 328-34 (Oregon); ¶¶ 348-54 (Washington). A few Plaintiff States mention specific

wind projects but notably fail to allege that the projects are likely to be affected by the Wind

Memo—that is, that there is a pending application that is being unlawfully delayed. See id. ¶ 258



6
  While State Plaintiffs rely on Massachusetts v. EPA, 549 U.S. 497 (2007), for their standing
arguments, “[a] State does not have standing as parens patriae to [sue] the Federal Government.”
Alfred L. Snapp & Son, Inc. v. Puerto Rico, ex rel., Barez, 458 U.S. 592, 610 n.16 (1982).
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(Delaware: alleging the purchase of land for three substations but not alleging that the Wind Memo

would affect the project); ¶ 283 (Maine: alleging that it is “pursuing floating offshore wind energy,”

but not alleging that the Wind Memo would affect the project); ¶ 291 (Maryland: alleging that

there are “three offshore-wind leaseholders in Maryland-adjacent waters,” and “[o]ne of those . . .

received its final Construction and Operation Permit in late 2024,” but not alleging that the Wind

Memo would affect the project).7

       Arizona and California identify specific wind projects that may need federal approvals but

fail to describe their stage of development or when federal approvals would be sought, let alone

any impacts that would befall the projects from a (purely hypothetical) delay in approval. See

Compl. ¶¶ 216, 218 (Arizona: alleging that the Forged Ethic site will require the Bureau of

Reclamation to conduct a NEPA review, but not alleging when such a request may occur); ¶ 233

(California: alleging that “an offshore-wind project in state waters near Vandenberg Space Force

Base . . . is likely to require federal review and approvals,” but not alleging when such review

would be requested).

       Only three states—New York, New Jersey, and Massachusetts—allege federal permitting

delays (or other federal action) for specific wind projects caused by the Wind Memo. None of these

states, however, adequately allege facts to demonstrate that these projects would be approved and

completed but for the Wind Memo.

       New York alleges that two projects have been put at risk. New York alleges that,

“BOEM . . . issued a stop work order for Empire Wind.” Compl. ¶ 178. But that stop work order




7
 Even if some Plaintiffs have standing, this Court should dismiss the claims brought by Colorado,
Connecticut, Delaware, Illinois, Maine, Maryland, Michigan, Minnesota, New Mexico, Oregon,
and Washington, as they “must demonstrate standing for each claim that they press against each
defendant, and for each form of relief that they seek.” Murthy v. Missouri, 603 U.S. 43, 61 (2024).
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was not based on the temporary cessation directive in the Wind Memo and has now been lifted.

BOEM Decl. ¶ 11, Ex. E. New York also alleges that the schedule for the “construction of the

Arthur Kill Terminal project was . . . disrupted . . . because, upon information and belief, the Corps

has halted consideration of applications for permits under Section 404 of the [CWA] and Section

10 of the [RHA].” Compl. ¶ 184. But New York fails to allege that the terminal would be entitled

to receive those permits and be completed absent the Wind Memo. Further, the Arthur Kill

Terminal is a “wind component staging and assembly project,” id. ¶ 152, which means the

supposed benefits for New York would not vest upon completion, but only after the terminal helps

construct other wind-energy projects, which are not identified and the completion of which is

speculative.

       New Jersey alleges that the Atlantic Shores Offshore Wind Project has been delayed due to

EPA’s remand request for a CAA permit while this project was being challenged in the EAB. See

Compl. ¶ 310; see also In re Atlantic Shores Offshore Wind, LLC, OCS Appeal No. 24-01 (Mar.

14, 2025). EPA may, or may not, concur with its initial decision. Regardless, New Jersey cannot

establish that the project is entitled to a permit, especially as that issue was being contested before

the EAB and could further be contested in court. Moreover, New Jersey does not adequately allege

any construction delays or that, if the CAA permit were received, the project would be completed.

       Massachusetts alleges that although the SouthCoast Wind project “has secured most federal

approvals[,] . . . progress on outstanding approvals has been paused pursuant to the Wind

Directive.” Compl. ¶ 197. Massachusetts submits no information that the project would be entitled

to receive those outstanding approvals and be completed absent the Wind Memo.

       Given that State Plaintiffs fail to demonstrate specific harms attributable to specific

projects, Plaintiffs are left with their argument that the Wind Memo creates “regulatory



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uncertainty,” and thus that private parties have voluntarily delayed construction. Compl. ¶¶ 252,

298, 345. Such claims are regularly rejected because the “effects stemming from regulatory

uncertainty are quintessentially conjectural.” AstraZeneca Pharms. LP v. Sec’y U.S. Dep’t of

Health & Hum. Servs., No. 24-1819, 2025 WL 1338088, at *5 (3d Cir. May 8, 2025); see also

Arizona v. Env’t Prot. Agency, 77 F.4th 1126, 1131 (D.C. Cir. 2023).

       Second, State Plaintiffs fail to establish that the alleged downstream impacts from the

supposedly lacking permits—energy reliability and affordability benefits, economic activity,

health benefits, and environmental protection—are “imminent.” Spokeo, 578 U.S. at 339. Indeed,

they provide virtually no dates as to when specific wind-energy projects would begin to provide

power, or how implementation of the Wind Memo has altered those dates. See Corps. Decl. ¶ 8.

Generally, State Plaintiffs simply note aspirational dates for certain metrics for renewable energy.

See Compl. ¶¶ 263, 295. For example, it may be that the Wind Memo—in some way—makes it

more difficult for Illinois to be using “100% carbon-free energy generation by 2045.” Id. ¶ 263.

But that alleged injury is undoubtedly not imminent, which is required for standing purposes.

               2.      State Plaintiffs’ Alleged Injuries Fail on Traceability and
                       Redressability Grounds

       State Plaintiffs must demonstrate both that the downstream harms they allege are “fairly

traceable to the [Wind Memo], and . . . likely to be redressed by a favorable judicial decision.”

Spokeo, 578 U.S. at 338. State Plaintiffs generally allege the benefits of wind energy in paragraphs

159-166 of their Complaint and specifically allege that those benefits are “at risk now because [of]

the Agency Defendants’ implementation of the Wind Directive,” Compl. ¶ 167, and that the Wind

Memo “risk[s] depriving States of energy reliability and affordability benefits, economic activity,

health benefits, and environmental protection that were to come from their substantial investments

in wind power,” id. ¶ 168. These allegations are far too attenuated to confer standing.

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       State Plaintiffs fail to “to show a sufficiently direct causal connection between the

challenged action and the identified harm.” Dantzler, Inc. v. Empresas Berrios Inventory &

Operations, Inc., 958 F.3d 38, 47 (1st Cir. 2020). State Plaintiffs’ causal chain, which is not fully

spelled out, appears to be (1) the temporary cessation directive stops all wind-energy projects

requiring federal approvals; (2) following the conclusion of the assessment and review directive,

the Agency Defendants will adopt a policy to not approve any wind-energy project, (3) States

cannot develop wind energy projects on lands or areas requiring fewer or no federal approvals, (4)

States cannot develop energy sources, such as geothermal or nuclear energy, that may provide

similar benefits, and (5) nothing else will mitigate the impacts from fewer federally approved

wind-energy projects.

       Here “the ‘links in the chain of causation’ between the challenged conduct and the alleged

injury are ‘far too weak for the chain as a whole to sustain . . . standing.’” Id. at 48 (quoting

Allen v. Wright, 468 U.S. 737, 757-59 (1984)). To begin, the Wind Memo does not direct agencies

to adopt a policy of not approving wind projects. As for the rest of the causal daisy-chain, the

injuries complained of are the result of “the independent action of a third party.” Dantzler, Inc.,

958 F.3d at 47. Plaintiffs’ causation theory rests upon the allegation that their current power

generators, which rely on fossil fuels, do not provide affordable and reliable energy, do not support

economic activity, and harm public health and the environment. Even if true, third parties—not the

Agency Defendants—are causing those harms.

       Nor will the relief State Plaintiffs seek redress their alleged harms. “[I]t cannot be merely

speculative that, if a court grants the requested relief, the injury will be redressed.” Id. Although

State Plaintiffs undoubtedly support wind energy, they fail to demonstrate that, but for the Wind

Memo, all federal authorizations will be approved and they will—in fact—have more “energy



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reliability and affordability benefits, economic activity, health benefits, and environmental

protection.” Compl. ¶ 168.

       Even without the Wind Memo, there is simply no assurance that wind energy projects

would be permitted or provide the benefits in their jurisdictions and to their populations that State

Plaintiffs allege. State Plaintiffs concede that “minor setbacks” unrelated to federal permitting “can

dramatically increase costs and delay or even derail wind-energy development.” Pls. Mem. 9.

Further, wind energy “projects require numerous financing, planning, approval, and development

steps,” which are impacted by many factors apart from federal approvals. Id. State Plaintiffs’ own

assertions—that these projects are tenuous already—make clear that their success is not guaranteed

absent the Wind Memo, which calls only for a temporary pause in approvals.

               3.      Even if State Plaintiffs Had Standing, Their Injuries Are Not Within
                       the Relevant Statute’s Zones of Interests

       State Plaintiffs are also not within the zones of interest protected by the statutes in their

claims. This test “asks whether ‘this particular class of persons ha[s] a right to sue under this

substantive statute.’”8 Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118, 127

(2014) (quoting Ass’n of Battery Recyclers, Inc. v. EPA, 716 F.3d 667, 675–76 (2013) (concurring

opinion)); see also 5 U.S.C. § 702. “The relevant statute . . . is the statute whose violation is the

gravamen of the complaint.” Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 886 (1990).

       In Seafreeze Shoreside, Inc. v. U.S. Department of the Interior, the First Circuit looked at

whether seafood dealers and fishermen could challenge DOI’s approval to construct an offshore

wind farm. 123 F.4th 1, 7-8 (1st Cir. 2024). The plaintiffs’ injury was within NEPA’s zone of

interest because they “plausibly linked” the “major adverse impacts on mollusks, fish, and



8
  Although this test is distinct from prudential standing, Lexmark, 572 U.S. at 127, it is discussed
in the standing section as it is a threshold issue that also looks at a plaintiffs’ alleged injury.
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crustaceans” to “the expected adverse economic effects of the project on their commercial fishing

interests.” Id. at 21.

        Here, State Plaintiffs allege that Defendants are in violation of a dozen statutes: OCSLA,

the CWA, the RHA, the CAA, NEPA, the ESA, the BGEPA, the MMPA, the MSA, the NHPA,

FLPMA, and the FAST Act. Compl. ¶ 59-112. Counts I through IV each essentially allege that the

Agencies are not promptly making permit decisions under these statutes. Id. ¶¶ 357, 389, 418,

421. As a general matter, a permittee who is improperly denied a permit under one of these statutes

would suffer a legal wrong within the meaning of those statutes. The State Plaintiffs are not permit

applicants under these statutes, nor do State Plaintiffs’ injuries flow from the environmental harms

these statutes are generally designed to protect. For instance, the CWA protects “the chemical,

physical, and biological integrity of the Nation’s waters,” 33 U.S.C. § 1251(a), by prohibiting the

discharging of dredge or fill material, id. 33 U.S.C. § 1344, into waters of the United States without

a permit. That “the States stand to lose a critical source of energy due to project delays and

cancellations,” Pl. Br. at 20, is not “plausibly linked” to any purported harm to the Nation’s waters

that the CWA is designed to protect. Seafreeze, 123 F.4th at 21.

        Accordingly, State Plaintiffs are not within the zone of interest of the listed statutes. 9

                4.       Plaintiffs Do Not Otherwise Have Standing Against Some Defendants

        “[P]laintiffs must demonstrate standing for each claim that they press against each

defendant, and for each form of relief that they seek.” Murthy, 603 U.S. at 61 (cleaned up).




9
  In Count IV, Plaintiffs also allege that Defendants are in violation of OCSLA. Compl. ¶¶ 423
(quoting 43 U.S.C. § 1332(3)), 424 (citing 43 U.S.C. § 1341(a)). Plaintiffs do not fall within the
zone of interest for these provisions because they are not engaged in the development of the OCS.
Even if they were, they may only bring Count IV against the Defendants that implement OCSLA.
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          State Plaintiffs allege no specific action or inaction by the Department of Energy, Energy

Secretary Chris Wright, the Department of the Treasury, Treasury Secretary Scott Bessent, the

Department of Agriculture, or Agriculture Secretary Brooke Rollins. 10 The only allegations against

these Defendants are their general association with the interagency assessment and review. See

Compl. ¶ 132. But State Plaintiffs’ alleged injuries are supposedly tied to Section 2(a)’s temporary

cessation directive, not the assessment and review directive. Furthermore, even if there were some

cognizable injury related to the assessment and review directive, relief would not be appropriate

against these Departments, as the only thing State Plaintiffs arguably allege they are doing is

consulting with the Secretary of the Interior regarding this assessment and review.

          State Plaintiffs’ claims similarly fail against BLM, BLM’s Acting Director Jon Raby,

NMFS, and NMFS’s Director Eugenio Pineiro Soler. Plaintiffs present only vague allegations that

those entities “adopt[ed] and implement[ed]” the temporary cessation directive, but never identify

any permit or authorization supposedly affected by the directive. Compl. ¶¶ 402, 408.

          C.     Intervenor Lacks Standing

          Organizations like Intervenor ACE NY must meet a three-part test for standing: (1) its

members must have standing to bring suit on their own accord; (2) the interests the organization

seeks to protect must be germane to the organization’s purpose; and (3) the claim asserted and

relief requested must not require an individual member’s participation in the lawsuit. See In re Fin.

Oversight & Mgmt. Bd. for Puerto Rico, 110 F.4th 295, 308 (1st Cir. 2024). Here, Intervenor lacks

standing because its members do not have standing to bring suit on their own accord.

          Broadly, Intervenor alleges two types of injuries for its members. Intervenor alleges direct

injury to owners or operators of wind projects, which allegedly include daily delay costs, lost



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     Intervenor does not even bring claims against these agencies. See Interv. Compl. ¶¶ 13-27.
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income, impaired contractual obligations, and harms to financing. See Interv. Compl. ¶ 76.

Intervenor also alleges purely indirect injury to those in the “wind energy supply chain” including

loss of business, increased materials costs, contract disruption, and potential business closures. Id.

¶ 76.

         These alleged injuries do not support standing. First, “[P]laintiff-organizations [are

required to] make specific allegations establishing that at least one identified member had suffered

or would suffer harm.” Summers v. Earth Island Inst., 555 U.S. 488, 498 (2009). Here, Intervenor

fails to identify a specific member that would have standing in its own right to bring suit—

presumably because they have not identified a member that has a pending application that has been

unlawfully delayed. See generally Interv. Compl. Intervenor’s declarations are of no help either.

Interv. Mem. 13.

         Declaration of Marguerite Wells. Wells fails to show an “identified member had suffered

or would suffer harm.” Summers, 555 U.S. at 498. The Wells Declaration discusses alleged harm

to certain types of its members, e.g., “ACE NY’s Members in the Construction Sector,” Decl. ¶ 48,

but fails to identify any particular member in that sector for purposes of establishing standing.

Wells also discusses a “Company A” and “Company B,” Decl. ¶¶ 24-41, but neither company is

identified. Members must be identified to provide organizational standing so that Defendants have

the ability to rebut the allegations. See, e.g., S. Walk at Broadlands Homeowner’s Ass’n, Inc. v.

OpenBand at Broadlands, LLC, 713 F.3d 175, 184 (4th Cir. 2013).

         Wells also identifies “six leaseholders that were awarded leases in the 2022 New York

Bight (NY Bight) Auction held by [BOEM].” Decl. ¶ 21. Again, no individual leaseholder is

identified. Just as important, Wells simply states that “none of the six NY Bight leaseholders has

a BOEM-approved construction and operation plan (“COP”), and now . . . none will be able to



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secure a COP.” Id. ¶ 22. Notably missing from this alleged injury is when any specific leaseholder

would even seek approval from BOEM for a COP—or any other federal authorization—that could

be affected by implementation of the Wind Memo, much less any allegation of a pending COP that

is at imminent risk of delay beyond a mandatory statutory deadline.

       Declaration of Elizabeth Burdock. Burdock is the CEO and President of Oceantic Network,

a non-profit that advances offshore wind and building a domestic supply chain. See Decl. ¶¶ 1, 2.

Generally, Burdock discusses the effects of the Wind Memo on Oceantic’s members. But ACE NY

may only establish standing through its membership, not Oceantic’s. A careful review of her

declaration shows that Burdock fails to identify a member of ACE NY that has standing. Indeed,

Burdock points to only three uninjured Oceantic Members who are also members of ACE NY. See

id. ¶¶ 33 (Technostrobe); 42 (Windserve Marine); and 45 (Roman Stone). The alleged injuries for

all three companies come, if at all, from the actions of its customer—third parties—not the Agency

Defendants.11

       Declaration of Charles Donadio. Donadio similarly alleges harm from third parties, not the

Agency Defendants. Mr. Donadio founded Atlantic Wind Transfers, a member of ACE NY, Decl.

4, which is an “offshore wind farm support vessel company.” Decl. ¶ 2. Atlantic Wind Transfers’

alleged injury comes, if at all, from its customers, not from the Agency Defendants.




11
   None of these member companies are injured by a delay in any specific pending authorization.
Instead, Technostrobe blames its injuries on “deteriorating market conditions.” Burdock Decl.
¶ 33. Roman Stone supplies “precast concrete products to the offshore wind industry.” Id. ¶ 45.
WindServe Marine is a marine operations company that provides support to wind energy
projects. Id. ¶ 42. WindServe “faces significant challenges in securing future employment for [its
vessel] assets once existing contracts conclude.” Id. Burdock states that WindServe may incur
injury if the Empire Wind I project does “not move forward,” Burdock Decl. ¶ 42, but BOEM
recently authorized that project to continue, BOEM Decl. ¶ 11, Ex. E.
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       Declaration of Kara McNutt. McNutt is a consultant that prepared a report, which purports

to estimate the economic effects of the Wind Memo. See Decl. at ¶ 8. But this does nothing to

prove that any specific member of ACE NY has standing. The broad economic effects alleged to

be the result of the Wind Memo shows only that ACE NY Members may “suffer[] in some

indefinite way in common with people generally.” DaimlerChrysler Corp. v. Cuno, 547 U.S. 332,

345 (2006) (quoting in Doremus v. Board of Ed. of Hawthorne, 342 U.S. 429, 433-34 (1952)).

       Second, ACE NY’s members working in the “wind energy supply chain” do not have

standing because the injuries complained of are the result of “the independent action of a third

party,” not the Agency Defendants. Dantzler, 958 F.3d at 47. For each member of the supply chain,

it is third parties who are buying their products or utilizing their services—not the Agency

Defendants. Accordingly, their alleged injuries are not traceable to Defendants and Intervenor may

not demonstrate standing through these members.

       Lastly, even if ACE NY could show that its members working within the “wind energy

supply chain” had Article III standing, they are not within in the zone of interests protected by the

statutes under which it has brought claims.12 Cf. Seafreeze Shoreside, Inc., 123 F.4th at 21. In

short, the interests of those selling goods or services for the construction of wind farms are not

within the “‘particular class of persons [that has] a right to sue under this substantive statute[s]’”

at issue here. Lexmark Int’l, Inc., 572 U.S. at 127 (quoting Battery Recyclers, 716 F.3d at 675–76

(concurring opinion)).




12
  ACE NY argues that its “members also are directly regulated by the statutes that the Wind Ban
violates, sufficing for prudential standing.” Interv. Mem. 13 (citation omitted). However, none of
the ACE NY members identified by declaration are directly regulated by the agencies.
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       D.      Plaintiffs Fail to State a Claim Upon Which Relief Can Be Granted

               1.      Plaintiffs Fail to Identify a Final Agency Action

       “Under the terms of the APA, [Plaintiffs] must direct [their] attack against some particular

‘agency action’ that causes [them] harm.” Lujan, 497 U.S. at 891. The targeted agency action must

be “circumscribed” and “discrete[.]” Norton v. S. Utah Wilderness All., 542 U.S. 55, 62 (2004). A

court’s “jurisdiction does not extend to reviewing generalized complaints about agency behavior.”

Cobell v. Kempthorne, 455 F.3d 301, 307 (D.C. Cir. 2006) (citation omitted).

       By the APA’s own terms, the challenged agency action must be “final.” 5 U.S.C. § 704.

An agency action is final where the action (1) “mark[s] the ‘consummation’ of the agency’s

decisionmaking process,” and (2) is one “by which ‘rights or obligations have been determined,’

or from which ‘legal consequences will flow.’” Bennett, 520 U.S. at 178 (citations omitted). The

action “must not be of a merely tentative or interlocutory nature.” Id. (emphasis added).

        The alleged agency actions Plaintiffs identify, and seek this Court to review, generally fall

into four categories: (1) the President’s temporary cessation directive in Section 2(a) of the Wind

Memo; (2) agency implementation of the Wind Memo in the abstract; (3) generalized agency

notices acknowledging the temporary cessation directive; and (4) agency project-specific

announcements implementing the temporary cessation directive. None of these alleged actions,

however, are final agency actions subject to APA review.

                       a.     The Wind Memo is Not Subject to the APA

       The President is not an agency, see Franklin v. Massachusetts, 505 U.S. 788, 800-01

(1992), and therefore “actions of the President . . . are not reviewable under the APA,” Dalton v.

Specter, 511 U.S. 462, 470 (1994). This precludes the Wind Memo from APA review. While the




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Wind Memo instructs federal agencies to review and assess wind leasing and permitting practices

that, upon finality, may (or may not) be subject to judicial review, the Wind Memo itself is not. 13

       For the same reasons, the Wind Memo is also not subject to the APA’s notice-and-comment

procedures. Nor does it provide any substantive changes to any wind energy policy; it simply

defers the issuance of authorizations until completion of a later substantive assessment and review.

Thus, if anything, it can only be characterized as a “rule of agency . . . procedure, or practice” that

is exempt from notice-and-comment procedures. 5 U.S.C. § 553(b)(A); see, e.g., Kessler v. FCC,

326 F.2d 673, 681 (D.C. Cir. 1963) (holding “freeze” order pausing filing of new applications

pending possible promulgation of new rules was procedural and not subject to rulemaking

requirements of the APA).

                       b.      Plaintiffs Fail to Identify a Final Agency Action

       At the agency level, Plaintiffs further attempt to manufacture final agency action where

there is none. Primarily, they claim a generalized agency “halt on wind-energy approvals” pending

an environmental review is final agency action. Pl. Mem. 22; see also Interv. Mem. 13. They also

maintain that agency implementation of that “halt”—both in the form of generalized notices and

project-specific announcements—is likewise final agency action (without identifying a statutory

or regulatory violation). But none of these measures constitute final agency action.

       As noted above, to be “final,” an agency action must (1) “mark the ‘consummation’ of the

agency’s decisionmaking process,” and (2) determine “rights or obligations” or otherwise result in

“legal consequences.” See Bennett, 520 U.S. at 177-78 (citations omitted). The agency must have

“rendered its last word on the matter.” Harrison v. PPG Indus., Inc., 446 U.S. 578, 586 (1980).



13
  This is not to say that Presidential actions are unreviewable. They “may still be reviewed for
constitutionality” through a cause of action in equity, but even a constitutional challenge to the
President’s actions is not permissible under the APA. Franklin, 505 U.S. at 801.
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       In the permitting context, final agency action is generally limited to the ultimate approval,

modification, or disapproval of an applicant’s permit. E.g., Penn. Mun. Auths. Ass’n v. Horinko,

292 F. Supp. 2d 95, 105 (D.D.C. 2003) (recognizing that alleged delay “while EPA is in the midst

of attempting to formulate a national policy process” is not final agency action). An interim

decision to merely postpone the permit decisionmaking process is not final agency action. See

Shawnee Trail Conservancy v. Nicholas, 343 F. Supp. 2d 687 (S.D. Ill. 2004); see also Marquette

Cnty. Rd. Comm’n v. EPA, 726 Fed. App’x 461, 467 (6th Cir. 2018) (“In the absence of any decision

from [an] agency to ultimately deny or grant the permit [courts] have nothing to review.”).

       Here, the Wind Memo calls for a review of wind leasing and permitting practices and

directs agencies to temporarily hold off on issuing new authorizations. But that review is simply

part of the overall decisionmaking process for each pending authorization. See Nat’l Parks

Conservation Ass’n v. Norton, 324 F.3d 1229, 1238 (11th Cir. 2003) (refusing to find final agency

action where “further administrative action is forthcoming”). It neither marks an agency’s final

decision with respect to any particular permit, nor creates any legal rights or obligations for a

pending applicant. By challenging the Wind Memo’s implementation in the abstract, Plaintiffs

are, in effect, challenging the lack of agency action. But an agency decision to hold and review a

permit “as a part of its comprehensive . . . revision is not a final decision.” Shawnee Trail

Conservancy, 343 F. Supp. 2d at 701. The proper way to challenge a lack of agency action is to

compel agency action under § 706(1), which Plaintiffs have not done. See infra pp. 31-33.

       Plaintiffs’ effort to cast generalized agency notices implementing the Wind Memo as final

agency action fairs no better. Plaintiffs identify four general agency announcements or statements

they claim violated the APA. See Compl. ¶¶ 145-48; Interv. Mem. 9-10. Each of these general

notices, however, simply inform the public of the temporary cessation directive found in



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Section 2(a) of the Wind Memo. None of them reflect the consummation of any agency permitting

decision, determine any legal rights or obligations of any permit applicant, or implement new wind

energy permitting and development policy. See, e.g., Golden & Zimmerman, LLC v. Domenech,

599 F.3d 426, 428, 431-32 (4th Cir. 2010) (holding that a “simply informational” agency

publication did not constitute final agency action); Indep. Equip. Dealers Ass’n v. EPA, 372 F.3d

420, 427 (D.C. Cir. 2004) (holding that agency letter was not reviewable).

       DOI Secretary’s Order No. 3415 announced that, to ensure DOI actions were conducted

consistent with administration policy goals, the delegated authority to approve wind energy

authorizations was “hereby temporarily suspended, but the action may be approved by leadership.”

DOI Decl. ¶ 6, Ex. A. The Order emphasized that the suspension “does not limit existing operations

under valid leases.” Id.; see 90 Fed. Reg. 8364 (“This memorandum shall be implemented

consistent with applicable law . . . .”). Thus, while the Order temporarily suspended delegated

authority to issue new permit approvals, it did not make any permitting decision—approval,

disapproval, or modification—with respect to any individual permit.

       Similarly, FWS’s Eagle Incidental Take General Permit Notice stated that FWS “is

temporarily ceasing issuance of permits to wind facilities until further notice.” FWS-MB Decl.

¶¶ 9, 12, Ex. 1. Even though FWS has considerable discretion and flexibility in making permitting

decisions, see FWS-MB Decl. ¶ 5-8, the Notice did not disapprove of any permits. It stated general

permits would no longer “automatically” issue, but said nothing about other permits like specific

permits, and still encouraged applicants to complete general permit applications. Id.

       Intervenor also points to a BOEM website notice entitled, “Lease and Grant Information,

What’s New.” Interv. Mem. 9. As its title suggests, this advisory notice simply informs users of

BOEM’s website that the agency is “temporarily halting offshore wind leasing” in accordance with



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the Wind Memo and simply restates the Wind Memo’s directives as it pertains to BOEM’s offshore

energy development jurisdiction. BOEM Decl. ¶ 6, Ex. B. Again, like the Secretary’s Order and

the FWS Notice, the notice neither makes nor reflects any decision with respect to any proposed

lease, see 30 C.F.R. §§ 585.215-.239, or plan, see id. §§ 585.605-.618, .620-.35.

       Finally, Intervenor cites a news article that purports to quote a Corps email announcing that

a “pause” remains in effect for wind energy projects in accordance with the Wind Memo. Interv.

Mem. 10. Nothing within these scant allegations reveals anything more than the agency simply

acknowledging the Wind Memo and its temporary cessation directive.

       A step further down the administrative ladder, Plaintiffs allege that seven project-specific

notices implementing the temporary cessation directive violate the APA. See Compl. ¶¶ 146, 148-

50, 152; Interv. Compl. ¶ 69; Interv. Mem. 11.14 But again, these notices do not constitute the

“consummation” of the decisionmaking process. They do not approve, disapprove, rescind, or

revoke any authorization, and the processes and analyses leading up to those decisions remain

ongoing. BOEM Decl. ¶¶ 7-8; Corps Decl. ¶ 6; EPA Decl. ¶ 5; FWS-ES Decl. ¶¶ 7-8, 11; FWS-

MB Decl. ¶ 11; NMFS Decl. ¶¶ 5-6. At most, they reflect an interim step, temporarily deferring a

decision until completing the assessment and review, which is the essence of an ongoing

decisionmaking process. Telling applicants that permitting decisions cannot be made until

completing an assessment and review—i.e., until completing an ongoing decisionmaking

process—is squarely in the heartland of non-final agency action.

       Take, for example, two of the seven: the postponement or cancellation of virtual public

meetings by BOEM for the Offshore California wind lease areas and the Vineyard Mid-Atlantic



14
   Plaintiffs also identify an eighth project, Empire Wind. Compl. ¶¶ 155-156. But that project is
irrelevant to their claims here because the Secretary’s halt construction order was not premised on
the temporary cessation directive and has since been lifted. BOEM Decl. ¶ 11, Ex. E.
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Offshore Wind Project. Compl. ¶¶ 148, 150; BOEM Decl. ¶ 8, Exs. C-D. In each instance, BOEM

engaged in an ongoing decisionmaking process regarding anticipated environmental impact

statements. BOEM postponed or cancelled a previously scheduled virtual public meeting, but

provided participants with instructions for submitting their comments in writing. The ultimate

decisionmaking process for each environmental impact statement, however, remains ongoing.

Interim administrative steps in that process—like the rescheduling of public meetings—cannot

constitute final agency action. See, e.g., Shawnee Trail Conservancy, 343 F. Supp. 2d at 701.

       Plaintiffs also take issue with BOEM’s extension of deadlines reflected in the FAST-41

Permitting Dashboard for the SouthCoast Wind Project and the Bluepoint Wind Project. But the

extension of a project deadline is not the consummation any permit decisionmaking process.

Indeed, that decisionmaking process continues to play out. BOEM Decl. ¶¶ 9-10; NMFS Decl. ¶ 6;

EPA Decl. ¶ 17. Moreover, the FAST Act expressly provides for the modification of project

schedules. See 42 U.S.C. § 4370m-2(c)(2)(D), (F). That process grants the agency a high degree

of flexibility to adjust schedules as necessary, underscoring the fact that mere extensions of those

schedules, before any final permitting decision has been made, cannot constitute a final agency

action subject to judicial review.

       Next, the EAB’s order granting EPA’s motion for voluntary remand in the Atlantic Shores

Wind Project also does not constitute “final agency action.” EPA Decl. ¶ 22-23, Ex. 3 at 7. In this

instance, the Board’s order speaks for itself: “[t]he Agency’s final action does not occur ‘until the

Regional Administrator issues a subsequent ‘final permit decision’ under section 124.19 after

administrative review proceedings are exhausted.’” Id. (citing 78 Fed. Reg. at 5284-85; 40 C.F.R.

§ 124.19(l)(2)). Because administrative proceedings were ongoing, the remand of the permit could

not constitute final agency action.



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       The final two project-specific notices identified by Plaintiffs and Intervenor relate to an

unidentified project and the Arthur Kill terminal and warrant little discussion. Here again, Plaintiffs

appear to base their allegations on the extension of deadlines or postponement of various

unidentified permits. Plaintiffs allege an MMPA permit on an unidentified project was extended

90 days. Compl. ¶ 146. But Plaintiffs fail to identify any statutory or regulatory deadline that was

supposedly violated. Such thin allegations, without more, cannot serve as a final agency action.

       Plaintiffs’ failure to identify an agency action reviewable under the APA makes their case

nothing more than an effort to seek “wholesale improvement of [the government’s permitting]

program[s] by court decree.” Lujan, 497 U.S. at 891. Such concerns “cannot be laid before the

courts for wholesale correction under the APA.” Id. at 893.

       Intervenor’s reliance on Pacito v. Trump, No. 25-255, 2025 WL 655075 (W.D. Wash. Feb.

28, 2025), to argue that judicial review is not precluded solely because the cessation directive is

temporary, Interv. Mem. 14, misses the mark. Agency Defendants do not argue there is no final

agency action here solely because the cessation directive is temporary. Rather, there is no final

agency action here because no agency has made a decision that represents the consummation of

its decisionmaking process or that has legal consequences. The government did not dispute in

Pacito that the alleged agency actions implementing the Executive Order challenged in that case

“represent[ed] the consummation of an internal administrative decisionmaking process” and had

“legal consequences.” Id. at *16. This also is plainly not a case like NRDC v. Wheeler, 955 F.3d

68, 79 (D.C. Cir. 2020), where EPA had promulgated a rule in the Federal Register that “firmly

establishe[d] [the agency’s] current position,” and that would “continue to govern unless and until

the agency issues a new rule.” NRDC v. Wheeler, 955 F.3d 68, 79 (D.C. Cir. 2020). Agency

Defendants have made no final decisions here, much less promulgated any rules. Nor have Agency



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Defendants cancelled or rescinded any approvals, rights of way, permits, leases, or loans for

onshore or offshore wind projects akin to the cancellation and recission of oil and gas lease sales

that the court found constituted reviewable agency actions in Louisiana v. Biden, 622 F. Supp. 3d

267 (W.D. La. 2022).

       E.      Plaintiffs’ APA Claims Are Mispleaded

       Although the crux of Plaintiffs’ Complaint is that agency action on wind energy projects is

being unlawfully withheld and unreasonably delayed, Plaintiffs have failed to plead such an APA

claim under § 706(1). 5 U.S.C. § 706(1). The reasons are apparent. Plaintiffs must allege “an

agency failed to take a discrete agency action that it is required to take.” Norton, 542 U.S. at 64.

An unreasonable delay must be “egregious,” and the Wind Memo was issued just four months ago.

Cobell v. Norton, 240 F.3d 1081, 1096 (D.C. Cir. 2001). Such a short pause would not constitute

egregious delay warranting judicial intervention. Id. (even “a finding that delay is unreasonable

does not, alone, justify judicial intervention” (quoting In re Barr Lab’ys, Inc., 930 F.2d 72, 75

(D.C. Cir. 1991))); see also, e.g., In re California Power Exch. Corp., 245 F.3d 1110, 1125 (9th

Cir. 2001) (collecting cases with “delays of years, not months”).

       Avoiding § 706(1), Plaintiffs disguise their delay-based claims as challenges to final

agency action. See Compl. ¶¶ 355-413 (Counts I and II pled under APA Section 706(2)); ¶¶ 414-

419 (Count III pled in equity); ¶¶ 420-426 (Count IV pled under common law); ¶¶ 427-438

(Count V pled under OCLA’s citizen suit provision). These claims are mispleaded. There is no

final agency action here, supra pp. 25-30, and the claims are all based on the same basic allegation

that “adopt[ing] and implement[ing] the Wind Directive’s categorical and indefinite halt on [wind

energy] approvals” is unlawfully withholding and unreasonably delaying agency action. Compl.

¶ 357 (Count I); accord id. ¶ 389 (Count II); ¶ 416 (Count III); ¶ 420 (Count IV); ¶ 432 (Count V).



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       Section 706(2) is “not the proper vehicle for Plaintiffs to allege their unreasonable delay

claim because ‘the agency action in question must be final agency action’ to warrant judicial

review under § 706(2)(A).” Karapetyan v. Mayorkas, No. 2:24-CV-05838-SPG-AGR, 2025 WL

665651, at *5 n.4 (C.D. Cal. Feb. 5, 2025) (citing, inter alia, Am. Anti-Vivisection Soc’y v. USDA,

946 F.3d 615, 620 (D.C. Cir. 2020) (dismissing § 706(2) claim as duplicative of § 706(1) claim for

agency’s delay in rendering a visa application decision)); accord Colvin & Son, LLC v. Haaland,

763 F. Supp. 3d 1176, 1183 (D. Nev. 2025) (allegations of agency delay were “beyond the scope

of th[e] Court’s review” under APA § 706(2)). Plaintiffs should not be permitted to evade the APA’s

limitation of judicial review to “final agency action” by pleading redundant equitable causes of

action. Hernandez v. Mesa, 140 S. Ct. 735, 747 (2020) (“[i]t would be anomalous to impute a

judicially implied cause of action beyond the bounds Congress has delineated for a comparable

express cause of action” (internal quotation omitted)).

       Even if Plaintiffs could rely on § 706(2), their Complaint fails to plausibly state a claim, as

it fails to show that Defendants have missed legal deadlines or otherwise violated any law.

Plaintiffs only vaguely cite a multitude of statutes, none of which contain any deadline that is

alleged to have been violated here. Plaintiffs’ attempt to fault Agency Defendants for failing to

explain purported decisions to change policy is similarly implausible. As explained above, there

have been no final decisions for the agencies to explain. See supra pp. 25-30. The Defendant

Agencies are merely complying with the temporary cessation directed by the Wind Memo. As

review under § 706(2) depends on the existence of final agency action—which is absent here—

Plaintiffs have no plausible claim for failure to explain. DOI will lead the assessment and review,

see DOI Decl. ¶ 5, and Agency Defendants will provide the necessary explanations when

consummating their decisionmaking processes and issuing permit decisions. Those explanations



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will satisfy the APA’s “arbitrary and capricious” standard “if the agency’s path may reasonably be

discerned.” Bowman Transp., Inc. v. Arkansas-Best Freight Sys., Inc., 419 U.S. 281, 286 (1974).

       F.      Neither the Wind Memo, Nor Agency Compliance with It, Is Ultra Vires

       Count IV alleges that the President and federal agencies lack the legal authority to institute

a temporary cessation of “new or renewed approvals, rights of way, permits, leases, or loans for

onshore or offshore-wind projects.” Compl. ¶¶ 420-26. Plaintiffs allege that Congress must, but

did not, specifically authorize such inaction. Id. ¶¶ 420-21.

       Count IV fails as an initial matter because it sounds in equity and is redundant of Count II,

which pleads the same basic APA allegations under § 706(2). 5 U.S.C. § 706(2)(A), (C); Compl.

¶¶ 384, 389. The First Circuit has disallowed non-statutory review where APA review was

available—the same result is warranted here. See Puerto Rico v. United States, 490 F.3d 50, 59–

60 (1st Cir. 2007); Jafarzadeh v. Duke, 270 F. Supp. 3d 296, 312 (D.D.C. 2017) (“because plaintiffs

are able to assert the same claim through the APA, they cannot obtain [ultra vires] relief”). Courts

also have declined to review non-statutory ultra vires claims where the plaintiffs’ APA claim failed

for lack of final agency action. Cal. Sportfishing Prot. All. v. U.S. Bureau of Reclamation, 2015

WL 6167521, at *10–11 (E.D. Cal. Oct. 20, 2015). That is the case here. See supra pp. 25-26.

       Even if Plaintiffs could proceed with an equitable ultra vires claim in addition to an APA

§ 706(2) claim, the scope of the Court’s review would be limited. Ultra vires is “a doctrine of last

resort,” Schroer v. Billington, 525 F. Supp. 2d 58, 65 (D.D.C. 2007), and the equivalent of “a Hail

Mary pass—and in court as in football, the attempt rarely succeeds.” Nyunt v. Chairman, Broad.

Bd. of Governors, 589 F.3d 445, 449 (D.C. Cir. 2009). Because agencies “may not simply disregard

an Executive [memorandum],” Sherley v. Sebelius, 689 F.3d 776, 784 (D.C. Cir. 2012), when

acting consistent with applicable law, ultra vires review of agency action is limited to when an



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agency’s error is “patently a misconstruction of the Act,” or “when the agency has disregarded a

specific and unambiguous statutory directive,” or “when the agency has violated some specific

command of a statute.” Griffith v. Fed. Lab. Relations Auth., 842 F.2d 487, 493 (D.C. Cir. 1988)

(internal citations and quotations omitted).15

       Plaintiffs do not show that a mandatory statutory directive is being violated. The Wind

Memo does not direct agencies to take unlawful action, but rather to implement a temporary

cessation of activity “consistent with applicable law.” 90 Fed. Reg. at 8363. Furthermore, they do

not identify any mandatory approval deadline that has been violated by Agency Defendants’

implementation of the Wind Memo’s temporary cessation. Indeed, Plaintiffs fail to even set forth

specific agency actions that are allegedly being adversely withheld.

       G.      The OCSLA Citizen Suit Claims (Plaintiffs’ Count V - Intervenor’s Count
               VI) Fail to Comply with Notice Requirements and Fail on the Merits

       OCSLA allows for adversely affected persons to bring a civil action in federal court against

the federal government for alleged violations of OCSLA, its implementing regulations, or permit

or lease terms issued under OCSLA. 43 U.S.C. § 1349(a)(1). But this provision comes with a catch:

a litigant cannot bring an action until 60 days after giving the appropriate Federal official written

notice of the alleged violation. Id. § 1349(a)(2)(A). “In the First Circuit ‘strict compliance with the

notice provision in environmental statutes’ is required and ‘failure to abide by . . . [such provision]

is fatal to the suit and can be cured only by dismissal and refiling after proper notice.’” Allco

Renewable Energy Ltd. v. Haaland, No. 1:21-cv-11171-IT, 2022 WL 2373914, at *1 (D. Mass.

June 30, 2022) (quoting Garcia v. Cecos Int’l, Inc., 761 F2d 76, 79 (1st Cir. 1985).




15
  This standard derives from the limited equitable review recognized in Leedom v. Kyne, 358 U.S.
184 (1958). Kyne, however, should be confined to its “narrow limits” and “painstakingly
delineated procedural boundaries.” Boire v. Greyhound Corp., 376 U.S. 473, 481 (1964).
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       Neither Plaintiffs nor Intervenor complied with OCSLA’s 60-day notice requirement. 16

Rather, both allege that their claims fall under the “imminent threat” or “immediate[] affect”

exception to OCSLA’s 60-day notice requirement. See Compl. ¶ 430; Interv. Compl. ¶ 227; 43

U.S.C. § 1349(a)(3). But this rationale fails. Any possible effect the Wind Memo could have on a

legal interest could not occur until BOEM makes a determination on a pending OCSLA planning

document. Moreover, Plaintiffs and Intervenor identify no mandatory statutory or regulatory

OCSLA deadline that BOEM or Defendants allegedly violated. Indeed, DOI’s regulations

explicitly state that BOEM may approve, disapprove, or approve with modifications a party’s

proposed plans only after completion of “technical and environmental reviews and other reviews

required by Federal laws.” 30 C.F.R. § 585.613(e); see id. § 585.628(f) (same); id. § 585.648(e)

(same). Because the Wind Memo directs only a temporary cessation of approvals of OCSLA

planning documents, and not a final disapproval, not only does Plaintiffs’ and Intervenor’s

immediacy argument fail, but their claims must also fail on the merits.

II.    Plaintiffs Have Not Shown Irreparable Harm Is Likely to Occur in the Time it Will
       Take to Litigate this Case on the Merits

       Plaintiffs also fail to satisfy the second Winter factor, which requires a strong showing that

they will sustain irreparable harm if the Court denies preliminary injunctive relief. Claims of

irreparable harm “must show more than a tenuous or overly speculative forecast of anticipated

harm,” Hearst Stations Inc. v. Aereo, Inc., 977 F. Supp. 2d 32, 40 (D. Mass. 2013), and cannot be

based on “conjecture, surmise, or a party’s unsubstantiated fears of what the future may have in

store,” Baptiste v. Kennealy, 490 F. Supp. 3d 353, 381 (D. Mass. 2020). Plaintiffs have presented

only hypothetical scenarios where they could eventually suffer harm; they have not demonstrated



16
  Defendants did not receive notice from Plaintiffs and Intervenor until on or about May 5, 2025
and May 7, 2025, respectively.
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“a significant risk of irreparable harm if the injunction is withheld.” Nieves-Marquez v. Puerto

Rico, 353 F.3d 108, 120 (1st Cir. 2003). Moreover, they fail to explain why an injunction now—

as opposed to after summary judgment—is necessary. Therefore, Plaintiffs cannot carry their

“substantial burden” to show that the “extraordinary equitable remedy” they seek is warranted.

Boston’s Children First v. City of Boston, 62 F. Supp. 2d 247, 253 (D. Mass. 1999).

       Plaintiffs’ broad allegations of harm, see Pl. Mem. 34-39; Interv. Mem. 32-36, are based

on impermissibly vague theories that fail to establish a causal connection to the Wind Memo.

       First, Plaintiffs claim that Defendants’ implementation of the temporary cessation directive

“will delay and potentially derail” States’ access to energy stores during winter seasons. Pls.’ Mem.

35. This incorrectly presumes that the deferred issuance of federal wind leasing and permitting

authorizations is permanent, rather than temporary. Pl. Mem. 34-39 (erroneously characterizing

the directive as a “categorical and indefinite halt”). For this reason, Plaintiffs’ citation to Texas v.

EPA, 829 F.3d 405 (5th Cir. 2016), is misplaced. There, the Fifth Circuit considered whether an

EPA rule requiring emission controls in Texas would irreparably harm the State by permanently

closing power plants. Id. at 434. Plaintiffs’ general “[s]peculation or unsubstantiated fears of what

may happen in the future” with respect to wind leases and permits “cannot provide the basis for a

preliminary injunction.” In re Rare Coin Galleries, Inc., 862 F.2d 896, 902 (1st Cir. 1988).

       Second, Plaintiffs claim that State investments will be stranded in wind-energy projects.

Pls.’ Mem. 36. This is similarly grounded in “overly speculative forecast[s] of anticipated harm.”

Hearst Stations Inc., 977 F. Supp. 2d at 40. Although Plaintiffs detail expenditures in, and jobs

associated with, offshore wind energy development, they fail to demonstrate how the hold on

federal wind approvals imminently jeopardizes such investments or employment. In the cases cited

by Plaintiffs, irreparable harm was found based on evidence of actual employment and economic



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losses, or where there was a “substantial threat” such losses would occur. See Woonasquatucket

River Watershed Council v. U.S. Dept of Agric., No. 1:25-cv-00097, 2025 WL 1116157 (D.R.I.

Apr. 15, 2025); Louisiana v. Biden, 622 F. Supp. 3d 267 (W.D. La. 2022). Here, Plaintiffs point to

no concrete evidence to suggest such losses have occurred or are likely to occur as a result of the

Wind Memo. Further, Plaintiffs’ job loss projections are highly speculative, as they are based on

the number of jobs wind-energy-related projects are “expected” to generate in certain States. Pl.

Mem. 36. Such bare allegations of what may occur at some indefinite time in the future are

insufficient; Plaintiffs “must show that the injury complained of is of such imminence that there is

a clear and present need for relief to prevent irreparable harm.” Sierra Club v. Larson, 769 F. Supp.

420, 422 (D. Mass. 1991) (quoting Wisc. Gas Co. v. FERC, 758 F.2d 669, 674 (D.C. Cir. 1985)).

       Third, Plaintiffs claim that they will be obstructed from meeting State statutory obligations.

Pls.’ Mem. 37. This too is unpersuasive because it lacks a causal nexus with Defendants’ actions.

Plaintiffs fail to specifically allege how the Wind Memo’s directives imminently “place[] [their]

sovereign interests and public policies at stake.” Kansas v. United States, 249 F.3d 1213, 1227

(10th Cir. 2001). Although threats to state sovereignty can constitute irreparable harm, Plaintiffs

fail to show that the Wind Memo so interferes with their ability to meet their State law requirements

such as to “deprive[] [them] of” these interests, id. at 1227–28, or otherwise prevents Plaintiffs

from using wind energy to “enforce [their] duly enacted plans,” Abbott v. Perez, 585 U.S. 579, 603

n.17 (2018). Plaintiffs rely on Abbott, 585 U.S. at 603 n.17, where the district court’s injunctions

forced Texas to contravene its own state elections law, and Kansas, 249 F.3d at 1227, where a

National Indian Gaming Commission decision “place[d] the sovereign status of land within the

State of Kansas wholly in the hands of the Miami Tribe and the [Commission].” But here, the Wind




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Memo does not ban wind projects, nor does it ban any State projects, and thereby does not prevent

Plaintiffs from complying with their State statutory obligations.

       Fourth, a preliminary injunction is not necessary to protect the environment or public

health. Plaintiffs’ claims of harm are highly speculative and untethered to the Wind Memo and

Agency Defendants’ alleged inactions. For instance, Plaintiffs express concerns over impacts to

projected 20-year gains in pollution reductions and health savings from a specific wind project in

Maryland. Pl. Mem. 38-39. Claims of such speculative and distant harms do not imminently

“hamper” “state efforts to . . . mitigate air pollution” warranting emergency injunctive relief. Id.

(citing New York v. Trump, No. 1:25-cv-00039, 2025 WL 715621, at *15 (D.R.I. Mar. 6, 2025)). 17

       Moreover, none of these alleged harms are irreparable. Rather, any delay-oriented harms

can be cured by a ruling in Plaintiffs’ favor on the merits, and Plaintiffs have not sufficiently

demonstrated that any irreparable harms will occur in the interim pending a final adjudication.

       For many of the same reasons, Intervenor also fails to demonstrate irreparable harm to its

members. Intervenor alleges that the temporary pause in federal wind energy approvals “creates

substantial risks of project cancellation” and has “threatened billions of dollars in investment in

wind energy projects.” Interv. Mem. 35-36. But such harms are inherently conjectural and based

on future projections of job and investment conditions in the wind industry. And, to the extent

Intervenor alleges its members have already experienced specific personnel and revenue losses,

such losses cannot reasonably be attributed to the Wind Memo or its directives. Indeed, Intervenor

fails to allege a single statutory violation or final agency action causing such harms. As neither

Plaintiffs nor Intervenor have demonstrated more than “tenuous or overly speculative forecast[s]



17
  Indeed, the assessment and review of federal wind projects pursuant to the Wind Memo could
lead to enhanced decisionmaking for federal wind leasing and permitting that optimizes pollution
reductions and mitigates emissions-related health and environmental harms.
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of anticipated harm,” they cannot meet their burden to warrant preliminary injunctive relief. Hearst

Stations Inc., 977 F. Supp. 2d at 40.

III.    The Balance of the Equities and Public Interest Do Not Support a Preliminary
        Injunction

        Plaintiffs also fail to satisfy the third and fourth Winter factors because the equities and the

public interest tip sharply in Defendants’ favor. These factors merge here because the government

is a party. Nken v. Holder, 556 U.S. 418, 435 (2009). When addressing these factors, “courts ‘must

balance the competing claims of injury and must consider the effect on each party of the granting

or withholding of the requested relief.’” Winter, 555 U.S. at 24 (citation omitted).

        Plaintiffs’ highly speculative harms are far outweighed by the intrusive effect an injunction

could have on new agency decisionmaking and agency discretion. That discretion ensures that

leasing and permitting decisions are sound and legally correct, and avoid or minimize

environmental impacts consistent with applicable law. For these reasons, the balance of the equities

and public interest weigh heavily against granting a preliminary injunction.

IV.     Any Injunctive Relief Should Be Narrowly Tailored

        Plaintiffs are not entitled to any relief whatsoever; however, should the Court determine

otherwise, it should deny Intervenor’s request to enjoin Section 2(a) of the Wind Memo

nationwide. Interv. Mot. 1. Nationwide injunctions exceed a district court’s authority under Article

III and encroach on the President’s executive power under Article II. TransUnion LLC v. Ramirez,

594 U.S. 413, 423 (2021); accord Morrison v. Olson, 487 U.S. 654, 699 (1988) (Scalia, J.,

dissenting); California v. Texas, 593 U.S. 659, 687 (2021) (Alito, J., dissenting); see also Nat’l

Educ. Ass’n v. United States Dep’t of Educ., No. 25-CV-091-LM, 2025 WL 1188160, at *31

(D.N.H. Apr. 24, 2025) (denying plaintiffs’ request for nationwide injunction); Louisiana v.

Becerra, 20 F.4th 260, 263 (5th Cir. 2021) (staying nationwide injunction outside plaintiff states).

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       Here, Intervenor has not shown a nationwide injunction is required to provide complete

relief. At most, Plaintiffs have identified six projects or actions (not counting an unidentified

project or Empire Wind) in only some Plaintiff States. See supra pp 28-30. Assuming Plaintiffs

had a viable claim for preliminary relief (they do not), an appropriately tailored remedy would be

an order for Agency Defendants to process any applications for those six projects. Cf. Lujan, 504

U.S. at 568 (critiquing party’s failure to address “separate decisions to fund particular projects”);

Gill v. Whitford, 585 U.S. 48, 66 (2018); see also DraftKings Inc. v. Hermalyn, 118 F.4th 416, 423

(1st Cir. 2024); Fed. R. Civ. P. 65(d)(1)(C). Limiting relief to these projects would be workable

and would not create confusion. Individual project proponents can assert APA § 706(1) claims for

any agency action they allege has been unlawfully withheld or unreasonably delayed.

V.     Plaintiffs Should Be Ordered to Post Security Pursuant to Rule 65(c) if Successful

       Under Federal Rule of Civil Procedure 65(c), a court may issue a preliminary injunction

“only if the movant gives security in an amount that the court considers proper to pay costs and

damages” sustained by the party wrongfully enjoined. Fed. R. Civ. P. 65(c). While the language of

Rule 65(c) is mandatory, the First Circuit has recognized that “an amount that the court considers

proper” grants the district court discretion in setting the dollar amount. See Axia NetMedia Corp.

v. Mass. Tech. Park Corp., 889 F.3d 1, 11 (1st Cir. 2018). If the Court issues an injunction, the

Court must require Plaintiffs to post an appropriate bond commensurate with the scope of any

injunction. At minimum, an appropriate bond here would be commensurate to the salaries and

benefits the government must pay for any employees to carry out the awarded relief.

                                         CONCLUSION

       The Court should deny Plaintiffs’ and Intervenor’s Motions and may dismiss their claims.




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 Respectfully submitted this 29th day of May 2025.
                                     ADAM R. F. GUSTAFSON
                                     Acting Assistant Attorney General
                                     U.S. Department of Justice
                                     Environment & Natural Resources Division
                                     /s/ Michael K. Robertson
                                     MICHAEL K. ROBERTSON
                                     Trial Attorney (DC Bar No. 1017183)
                                     U.S. Department of Justice
                                     Environment & Natural Resources Division
                                     Natural Resources Section
                                     4 Constitution Square
                                     150 M Street NE
                                     Washington, DC 20002
                                     Tel: (202)-305-9609
                                     Email: Michael.Robertson@usdoj.gov

                                     PHILLIP R. DUPRÉ
                                     Senior Trial Attorney (TX Bar No. 24069650)
                                     U.S. Department of Justice
                                     Environment & Natural Resources Division
                                     Environmental Defense Section
                                     4 Constitution Square
                                     150 M Street NE
                                     Washington, DC 20002
                                     Tel: (202) 598-9530
                                     Email: Phillip.R.Dupre@usdoj.gov
                                     ROBERT P. WILLIAMS
                                     Senior Trial Attorney (DC Bar No. 474730)
                                     U.S. Department of Justice
                                     Environment & Natural Resources Division
                                     Wildlife & Marine Resources Section
                                     Ben Franklin Station, P.O. Box 7611
                                     Washington, D.C. 20044
                                     Tel: (202) 305-0210 | Fax: (202) 305-0275
                                     Email: robert.p.williams@usdoj.gov
                                     KIERAN O’NEIL
                                     Trial Attorney (AK Bar No. 2311132)
                                     U.S. Department of Justice
                                     Environment & Natural Resources Division
                                     Wildlife & Marine Resources Section
                                     Tel: (202) 353-7548
                                     Email: kieran.o’neil@usdoj.gov


                                     Attorneys for Federal Defendants




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